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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  RICHARD KADREY, et al.,                            Case No. 23-cv-03417-VC
                 Plaintiffs,
                                                     ORDER DENYING THE PLAINTIFFS’
          v.                                         MOTION FOR PARTIAL SUMMARY
                                                     JUDGMENT AND GRANTING
  META PLATFORMS, INC.,                              META’S CROSS-MOTION FOR
                                                     PARTIAL SUMMARY JUDGMENT
                 Defendant.
                                                     Re: Dkt. Nos. 482, 501



       Companies are presently racing to develop generative artificial intelligence models—

software products that are capable of generating text, images, videos, or sound based on

materials they’ve previously been “trained” on. Because the performance of a generative AI

model depends on the amount and quality of data it absorbs as part of its training, companies

have been unable to resist the temptation to feed copyright-protected materials into their

models—without getting permission from the copyright holders or paying them for the right to

use their works for this purpose. This case presents the question whether such conduct is illegal.

       Although the devil is in the details, in most cases the answer will likely be yes. What

copyright law cares about, above all else, is preserving the incentive for human beings to create

artistic and scientific works. Therefore, it is generally illegal to copy protected works without

permission. And the doctrine of “fair use,” which provides a defense to certain claims of

copyright infringement, typically doesn’t apply to copying that will significantly diminish the

ability of copyright holders to make money from their works (thus significantly diminishing the
incentive to create in the future). Generative AI has the potential to flood the market with endless
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amounts of images, songs, articles, books, and more. People can prompt generative AI models to

produce these outputs using a tiny fraction of the time and creativity that would otherwise be

required. So by training generative AI models with copyrighted works, companies are creating

something that often will dramatically undermine the market for those works, and thus

dramatically undermine the incentive for human beings to create things the old-fashioned way.

          Take, for example, biographies. If a company uses copyrighted biographies to train a

model, and if the model is thus capable of generating endless amounts of biographies, the market

for many of the copied biographies could be severely harmed. Perhaps not the market for Robert

Caro’s Master of the Senate, because that book is at the top of so many people’s lists of

biographies to read. But you can bet that the market for lesser-known biographies of Lyndon B.

Johnson will be affected. And this, in turn, will diminish the incentive to write biographies in the

future.

          Or take magazine articles. If a company uses copyrighted magazine articles to train a

model capable of generating similar articles, it’s easy to imagine the market for the copied

articles diminishing substantially. Especially if the AI-generated articles are made available for

free. And again, how will this affect the incentive for human beings to put in the effort necessary

to produce high-quality magazine articles?

          With some types of works, the picture is a bit murkier. For example, it’s not clear how
generative AI would affect the market for memoirs or autobiographies, since by definition people

read those works because of who wrote them. With fiction, it might depend on the type of book.

Perhaps classic works of literature like The Catcher in the Rye would not see their markets

diminished. But the market for the typical human-created romance or spy novel could be

diminished substantially by the proliferation of similar AI-created works. And again, the

proliferation of such works would presumably diminish the incentive for human beings to write

romance or spy novels in the first place.

          Some students of copyright law respond that none of this matters because when
companies use copyrighted works to train generative AI models, they are using the works in a


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way that’s highly creative in its own right. In the language of copyright law, the companies’ use

of the works is “transformative.” As a factual matter, there’s no disputing that. And as a legal

matter, it’s true that you’re less likely to be liable for copyright infringement if you’re copying

the work for a transformative purpose. In that situation, you’re more likely to be protected by the

fair use doctrine. But as the Supreme Court has emphasized, the fair use inquiry is highly fact

dependent, and there are few bright-line rules. There is certainly no rule that when your use of a

protected work is “transformative,” this automatically inoculates you from a claim of copyright

infringement. And here, copying the protected works, however transformative, involves the

creation of a product with the ability to severely harm the market for the works being copied, and

thus severely undermine the incentive for human beings to create. Under the fair use doctrine,

harm to the market for the copyrighted work is more important than the purpose for which the

copies are made.

        Speaking of which, in a recent ruling on this topic, Judge Alsup focused heavily on the

transformative nature of generative AI while brushing aside concerns about the harm it can

inflict on the market for the works it gets trained on. Such harm would be no different, he

reasoned, than the harm caused by using the works for “training schoolchildren to write well,”

which could “result in an explosion of competing works.” Order on Fair Use at 28, Bartz v.

Anthropic PBC, No. 24-cv-5417 (N.D. Cal. June 23, 2025), Dkt. No. 231. According to Judge
Alsup, this “is not the kind of competitive or creative displacement that concerns the Copyright

Act.” Id. But when it comes to market effects, using books to teach children to write is not

remotely like using books to create a product that a single individual could employ to generate

countless competing works with a miniscule fraction of the time and creativity it would

otherwise take. This inapt analogy is not a basis for blowing off the most important factor in the

fair use analysis.

        Another argument offered in support of the companies is more rhetorical than legal:

Don’t rule against them, or you’ll stop the development of this groundbreaking technology. The
technology is certainly groundbreaking. But the suggestion that adverse copyright rulings would


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stop this technology in its tracks is ridiculous. These products are expected to generate billions,

even trillions, of dollars for the companies that are developing them. If using copyrighted works

to train the models is as necessary as the companies say, they will figure out a way to

compensate copyright holders for it.

        The upshot is that in many circumstances it will be illegal to copy copyright-protected

works to train generative AI models without permission. Which means that the companies, to

avoid liability for copyright infringement, will generally need to pay copyright holders for the

right to use their materials.

        But that brings us to this particular case. The above discussion is based in significant part

on this Court’s general understanding of generative AI models and their capabilities. Courts can’t

decide cases based on general understandings. They must decide cases based on the evidence

presented by the parties.

        In this case, thirteen authors—mostly famous fiction writers—have sued Meta for

downloading their books from online “shadow libraries” and using the books to train Meta’s

generative AI models (specifically, its large language models, called Llama). The parties have

filed cross-motions for partial summary judgment, with the plaintiffs arguing that Meta’s

conduct cannot possibly be fair use, and with Meta responding that its conduct must be

considered fair use as a matter of law. In connection with these fair use arguments, the plaintiffs
offer two primary theories for how the markets for their works are affected by Meta’s copying.

They contend that Llama is capable of reproducing small snippets of text from their books. And

they contend that Meta, by using their works for training without permission, has diminished the

authors’ ability to license their works for the purpose of training large language models. As

explained below, both of these arguments are clear losers. Llama is not capable of generating

enough text from the plaintiffs’ books to matter, and the plaintiffs are not entitled to the market

for licensing their works as AI training data. As for the potentially winning argument—that Meta

has copied their works to create a product that will likely flood the market with similar works,
causing market dilution—the plaintiffs barely give this issue lip service, and they present no


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evidence about how the current or expected outputs from Meta’s models would dilute the market

for their own works.

       Given the state of the record, the Court has no choice but to grant summary judgment to

Meta on the plaintiffs’ claim that the company violated copyright law by training its models with

their books. But in the grand scheme of things, the consequences of this ruling are limited. This

is not a class action, so the ruling only affects the rights of these thirteen authors—not the

countless others whose works Meta used to train its models. And, as should now be clear, this

ruling does not stand for the proposition that Meta’s use of copyrighted materials to train its

language models is lawful. It stands only for the proposition that these plaintiffs made the wrong

arguments and failed to develop a record in support of the right one.

I.     COPYRIGHT LAW AND FAIR USE
       The goal of copyright law is to promote “broad public availability of literature, music,

and the other arts.” Twentieth Century Music Corp. v. Aiken, 422 U.S. 151, 156 (1975). To this

end, copyright law incentivizes creativity by giving authors of original works a bundle of

exclusive rights—for instance, the rights to prevent others from reproducing or distributing the

works. 17 U.S.C. § 106. At the same time, however, copyright law “trades off the benefits of

incentives to create against the costs of restrictions on copying.” Andy Warhol Foundation for

the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 526 (2023). For example, copyright only
protects expression, not underlying ideas, and the duration of copyright protection is limited. See

id. (citing 17 U.S.C. §§ 102, 302–305).

       One major way the Copyright Act strikes a balance between protecting ownership and

leaving room for innovation is through the affirmative defense of fair use. Under this doctrine,

“the fair use of a copyrighted work . . . for purposes such as criticism, comment, news reporting,

teaching . . . , scholarship, or research, is not an infringement of copyright.” 17 U.S.C. § 107.

Fair use “permits courts to avoid rigid application of the copyright statute when, on occasion, it

would stifle the very creativity which that law is designed to foster.” Google LLC v. Oracle
America, Inc., 593 U.S. 1, 18 (2021) (quoting Stewart v. Abend, 495 U.S. 207, 236 (1990)).


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           The Copyright Act lists four factors to be considered in determining whether a given use

is fair:
                  1. the purpose and character of the use, including whether such use
                  is of a commercial nature or is for nonprofit educational purposes;

                  2. the nature of the copyrighted work;

                  3. the amount and substantiality of the portion used in relation to the
                  copyrighted work as a whole; and

                  4. the effect of the use upon the potential market for or value of the
                  copyrighted work.
17 U.S.C. § 107.

           While the statute lists these four factors, fair use is a “flexible concept.” Warhol, 598 U.S.

at 527 (quotation marks omitted) (quoting Oracle, 593 U.S. at 20). The list is not exhaustive. A

particular factor “may prove more important in some contexts than in others.” Oracle, 593 U.S.

at 19. And application of the factors “requires judicial balancing, depending upon relevant

circumstances, including ‘significant changes in technology.’” Id. (quoting Sony Corp. of

America v. Universal City Studios, Inc., 464 U.S. 417, 430 (1984)). The factors may also overlap

such that facts relevant to one factor are also relevant to others. See A.V. ex rel. Vanderhye v.

iParadigms, LLC, 562 F.3d 630, 642 (4th Cir. 2009). Overall, the factors are not meant to be

applied mechanically, but to contribute “to a holistic inquiry”: whether the secondary work is

likely to substitute for the original work in the marketplace and therefore undermine the
incentive to create. See Romanova v. Amilus Inc., 138 F.4th 104, 117 n.9 (2d Cir. 2025) (Leval,

J.); see also Warhol, 598 U.S. at 528 (referring to substitution as “copyright’s bête noire”).

           Because it “focuses on actual or potential market substitution,” Warhol, 598 U.S. at 536

n.12, the fourth factor is “undoubtedly the single most important element of fair use,” Harper &

Row Publishers, Inc. v. Nation Enterprises, 471 U.S. 539, 566 (1985). If the law allowed people

to copy your creations in a way that would diminish the market for your works, this would

diminish your incentive to create more in the future. Thus, the key question in virtually any case

where a defendant has copied someone’s original work without permission is whether allowing
people to engage in that sort of conduct would substantially diminish the market for the original


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work. See Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 590 (1994).

        Because fair use is an affirmative defense, the burden of proof is on the party invoking it.

Dr. Seuss Enterprises, L.P. v. ComicMix LLC, 983 F.3d 443, 459 (9th Cir. 2020), abrogated on

other grounds by Jack Daniel’s Properties, Inc. v. VIP Products LLC, 599 U.S. 140 (2023). In

particular, because the fourth factor is the most important, the secondary user (generally, the

defendant) will “have difficulty carrying the burden of demonstrating fair use without favorable

evidence about relevant markets.” Campbell, 510 U.S. at 590. But while the rightsholder need

not prove or present evidence of market harm, they “may bear some initial burden of identifying

relevant markets.” Hachette Book Group, Inc. v. Internet Archive, 115 F.4th 163, 194 (2d Cir.

2024); see also Newegg Inc. v. Ezra Sutton, P.A., No. CV 15-01395, 2016 WL 6747629, at *2

(C.D. Cal. Sep. 13, 2016). Moreover, because fair use is a holistic inquiry, the party invoking it

“bears the burden on the defense as a whole,” not as to each individual factor. William F. Patry,

Patry on Fair Use § 2:5 (May 2025 ed.).

        Fair use is a mixed question of law and fact, but the “question primarily involves legal

work.” Oracle, 593 U.S. at 24. Therefore, fair use can be addressed at summary judgment where

there are no genuine issues of material fact relevant to fair use. Leadsinger, Inc. v. BMG Music

Publishing, 512 F.3d 522, 530 (9th Cir. 2008). By contrast, where there are genuine factual

disputes that might affect whether the defendant’s use was fair, those disputes must be resolved
by a jury. See Oracle, 593 U.S. at 23–25. Once a jury finds the facts, whether those facts support

fair use “is a legal question for judges to decide.” Id. at 23–24.

        It bears emphasis that where a fair use defense fails, the consequence isn’t necessarily

that the defendant must stop whatever they were doing. The consequence will often be that the

defendant needs to pay the copyright owner for a license that grants them permission to do

whatever they were doing. This way, the defendant compensates the copyright owner for the fact

that the defendant’s conduct will otherwise harm the market for the original work. The defendant

will only be forced to stop what they’re doing if they’re unwilling or unable to pay for the right
to do it.


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II.       FACTS AND PROCEDURAL HISTORY

                                                    A
          “Generative AI” is a type of artificial intelligence that creates new content, such as text,

images, videos, or sound.1 Generative AI models do this, as Meta describes it, by extracting

“increasingly complex mathematical patterns from training data, enabling the network to output

a prediction or decision based on the patterns derived.” To put it more simply, generative AI

models are “trained” to identify common patterns across large training datasets. They can then

create, in response to user prompts, new content based on the patterns they have recognized in

that training data. By the same token, a model’s outputs are limited based on the patterns that

existed in its training data. For instance, if the only bridge in an image-generating model’s

training data was the Golden Gate Bridge, and a user told that model to generate an image of a

bridge, it would likely generate an orange-red suspension bridge, because that is the pattern of a

bridge that would emerge from its training data.

          A large language model, or LLM, is a particular type of generative AI model designed to

understand and generate text. Users can prompt LLMs to do a wide range of things, such as draft

emails, summarize documents, or write computer code. Well-known LLMs include OpenAI’s

ChatGPT models and Google’s Gemini models.

          LLMs learn to understand language by analyzing relationships among words and

punctuation marks in their training data. The units of text—words and punctuation marks—on
which LLMs are trained are often referred to as “tokens.” LLMs are trained on an immense

amount of text and thereby learn an immense amount about the statistical relationships among

words. Based on what they learned from their training data, LLMs can create new text by

predicting what words are most likely to come next in sequences. This allows them to generate

text responses to basically any user prompt. Model developers may also “post-train” or

“finetune” their models to improve their performance at specific tasks or otherwise adjust their

outputs, such as to prevent generation of offensive statements. Therefore, as with other

1
    Except as noted, the parties do not dispute the facts described in this section.


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generative AI models, LLMs’ outputs are limited by their training data. To be able to generate a

wide range of text—in different languages or styles, or regarding different subject matter—an

LLM’s training dataset must be large and diverse. As one Meta witness put it, “If a model only

saw social media posts, for example, it would not do well in generating source computer code.”

       But while a variety of text is necessary for training, books make for especially valuable

training data. This is because they provide very high-quality data for training an LLM’s

“memory” and allowing it to work with larger amounts of text at once. (The technical term for

how many tokens an LLM can hold in its memory at once is its “context window.”) For instance,

an LLM with a better memory will be able to process and respond to longer prompts, incorporate

more information into outputs, and remember things from earlier in an exchange, resulting in

smoother “conversations.” Books are good data for training LLMs’ memories because, in the

words of one of Meta’s expert witnesses, they are “long but consistent,” maintaining a particular

style and coherent structure. They are also high quality in the sense that they generally are well

written and use proper grammar (especially compared to text from the internet, which varies

widely on these metrics).

                                                 B
       Meta Platforms owns and operates social media services including Facebook, Instagram,

and WhatsApp. It is also the developer of a series of LLMs named “Llama.” Meta released
Llama 1 in February 2023 and Llama 2 that July. Llama 3—along with Meta AI, an easily

accessible AI chatbot (analogous to ChatGPT) that incorporates Llama 3—was released in April

2024. Llama 4 is planned for release later in 2025. As Meta explains, each new Llama edition

improved in certain ways over its predecessor: Llama 2 was finetuned “to improve the safety,

quality, and consistency” of its outputs; Llama 3 made “significant improvements in

performance and efficiency”; and Llama 4 is generally “larger” and “more advanced.” Subject to

certain restrictions, members of the public can download all of the Llama models for free for

noncommercial use; Llama 2 and 3 are also free to download for commercial use. While the
Llama models are free to download, Meta estimates that its total revenue from generative AI will


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range from $2 to $3 billion in 2025, and from $460 billion to $1.4 trillion over the next ten years.

See Pls. MSJ Ex. 8 at 12.

        To get the varied and extensive text necessary to train its models, Meta cast a wide net.

Approximately two-thirds of the data used to train Llama 1 and 2 came from Common Crawl, a

nonprofit organization that collects and provides free access to website data, metadata, and text.

The remainder came from websites and databases including Wikipedia, GitHub, ArXiv, Stack

Exchange, and a combination of Project Gutenberg and Books3 (two book databases).2 With the

exception of Books3, none of the sources contained any copyrighted material at issue in this

case.

        Although Meta needed (and acquired and used) a wide range of training data, it

especially needed books because, as discussed above, books make for high-quality data. Meta AI

researchers and engineers repeatedly discussed the benefits of using books as training data, as

well as the need to acquire more books for this use. One Meta employee said that the “best

resources we can think of are definitely books.” Pls. MSJ Ex. 18 at 2. Another said it was “really

important for us to get books data ASAP.” Id. Ex. 40 at 2. So as Meta expanded its datasets

generally, it also continued to look for more books in particular.

        At first, Meta wanted to license books and so tried to negotiate licensing deals with

several major publishers. Meta’s head of generative AI discussed spending up to $100 million on
licensing. But as negotiations proceeded, Meta realized that licensing would be more difficult

than anticipated. For one thing, publishers generally do not hold the subsidiary rights to license

books for AI training. These rights are instead held by individual authors, and there is no

organization for collective licensing of such rights. Sinkinson Decl. ISO Meta MSJ ¶¶ 58–59, 62.

Even where publishers do hold AI training licensing rights, they do so regionally rather than

globally. Meta MSJ Ex. 34 at 22:22–25:15. For another thing, some publishers apparently

2
  According to Meta, GitHub is “a leading cloud-based platform where coders store and share
code, frequently on an open-source basis.” ArXiv is “a free online archive of math, science, and
economics papers.” Stack Exchange is “a network of question-and-answer websites for sharing
technical knowledge, geared toward the programming community.”


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ignored Meta’s outreach, and only one gave Meta a pricing proposal. Id. at 23:11–14, 24:2–10.

       Eventually, Meta began investigating the possibility of procuring the books (and other

text) needed for training by downloading them from “shadow libraries.” A shadow library is an

online repository that provides things like books, academic journal articles, music, or films for

free download, regardless of whether that media is copyrighted. Meta first used a shadow library

in October 2022, when it downloaded the Library Genesis (“LibGen”) database to investigate

whether there was value in training Llama on the works it contained. Pls. MSJ Ex. 32 at 3. If the

answer was yes, the plan was to then set up licensing agreements for those or similar works. Id.

But in spring 2023, after failing to acquire licenses and following escalation to CEO Mark

Zuckerberg, Meta decided to just use the works acquired from LibGen as training data. Id. Ex. 61

at 5. And after confirming that LibGen contained most of the works available for license from

certain publishers with which it had been negotiating, Meta abandoned its licensing efforts. Id.

Ex. 50 at 131:1–132:10, 383:5–384:12; id. Ex. 57 at 2; id. Ex. 58 at 3; see also id. Ex. 92 at 12.

In early 2024, Meta also downloaded Anna’s Archive, a compilation of shadow libraries

including LibGen, Z-Library, and others. See id. Ex. 66 at 2–3.

       To download these large datasets more quickly and without unnecessarily slowing down

its networks, Meta torrented them. “Torrenting” is a filesharing technique that entails the

simultaneous distribution of small portions of a larger file from many different sources. To be
more precise, those sources are many other computer systems that also contain that file. So, for

instance, one who torrented LibGen would download small pieces of each book LibGen contains

from other users who had copies of LibGen on their computer and who were participating in the

torrenting network. The torrenting software would then take those pieces and reassemble them

into the original files on the downloader’s computer.3

       Certain torrenting protocols—including the one used by Meta, called BitTorrent—are, by


3
 See generally David Gerwitz, What Is Torrenting?, ZDNET (Aug. 6, 2024),
https://www.zdnet.com/article/what-is-torrenting-and-how-does-it-work [https://perma.cc/8PG5-
H7UW].


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default, configured so that files downloaded via torrenting may also be reuploaded to other

computer systems. This reuploading can occur both while files are still being downloaded (which

the parties refer to as “leeching”) and after those files have been fully downloaded (which the

parties refer to as “seeding”). Some torrenting protocols—including BitTorrent—are designed to

prioritize downloads to users who are also uploading.

        There is no dispute that Meta torrented LibGen and Anna’s Archive, but the parties

dispute whether and to what extent Meta uploaded (via leeching or seeding) the data it torrented.

A Meta engineer involved in the torrenting wrote a script to prevent seeding, but apparently not

leeching. See Pls. MSJ at 13; id. Ex. 71 ¶¶ 16–17, 19; id. Ex. 67 at 3, 6–7, 13–16, 24–26; see also

Meta MSJ Ex. 38 at 4–5. Therefore, say the plaintiffs, because BitTorrent’s default settings allow

for leeching, and because Meta did nothing to change those default settings, Meta must have

reuploaded “at least some” of the data Meta downloaded via torrent. The plaintiffs assert further

that Meta chose not to take any steps to prevent leeching because that would have slowed its

download speeds. Meta responds that, even if it reuploaded some of what it downloaded, that

doesn’t mean it reuploaded any of the plaintiffs’ books. It also notes that leeching was not clearly

an issue in the case until recently, and so it has not yet had a chance to fully develop evidence to

address the plaintiffs’ assertions.

        Either way, Meta added the books it downloaded to the datasets it used to train the Llama
models. It also post-trained its models to prevent them from “memorizing” and outputting certain

text from their training data, including copyrighted material. These training efforts, which Meta

calls “mitigations,” appear to have been successful. Meta’s expert witness tested them using a

method designed to get LLMs to regurgitate material from its training data (which Meta calls

“adversarial prompting”). Even using that method, the expert could get no model to generate

more than 50 words and punctuation marks (that is, “tokens”) from the plaintiffs’ books. And the

plaintiffs’ expert could only get the Llama model best at regurgitation to generate 50 words and

punctuation marks from the plaintiffs’ books in 60% of tests. She also testified that Llama was
not able to reproduce “any significant percentage” of them. Meta MSJ Ex. 24 at 237:16–19; see


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also Pls. Ex. 79 ¶¶ 70–72, 79, 82–83, 92; Meta MSJ Ex. 23 at 179:22–25, 180:17–181:16. In

short, Llama cannot currently be used to read or otherwise meaningfully access the plaintiffs’

books.

                                                  C
         The plaintiffs are thirteen published authors who have written, and who hold copyright

in, various works. Those works are mostly novels, but also include plays, short stories, memoirs,

essays, and nonfiction books. Examples include Sarah Silverman’s The Bedwetter, a comic

memoir; Rachel Louise Snyder’s No Visible Bruises: What We Don’t Know About Domestic

Violence Can Kill Us, a nonfiction book about domestic violence and how to combat it; Junot

Díaz’s Pulitzer Prize–winning novel, The Brief Wondrous Life of Oscar Wao; and Andrew Sean

Greer’s Less, also a Pulitzer Prize–winning novel. All of the books in which the plaintiffs hold

copyright can be found in the datasets Meta downloaded, including both Books3 and the Anna’s

Archive databases. In total, Meta downloaded at least 666 copies of books whose copyrights the

plaintiffs hold.

         Each plaintiff says that they would be open to licensing their books for use as generative

AI training data, but that Meta did not approach them about this licensing. No plaintiff has

licensed a book to any company for use as LLM training data or been asked by any company to

license a book for that purpose.
         The plaintiffs filed this lawsuit seeking to represent a class of all owners of copyrighted

works used as training data for Llama. They brought claims for direct copyright infringement

(based on Meta’s reproduction of their books), vicarious copyright infringement, removal of

copyright management information in violation of the Digital Millennium Copyright Act

(DMCA), unfair competition, unjust enrichment, and negligence. The plaintiffs seek damages,

restitution, and injunctive and declaratory relief, although it is not entirely clear what exactly

they seek to enjoin. They did not, for instance, seek a preliminary injunction preventing Meta

from using their works as training data or requiring Meta to retrain the existing Llama models on
data excluding their books. Cf. Concord Music Group, Inc. v. Anthropic PBC, No. 24-cv-3811,


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2025 WL 904333, at *3–4 (N.D. Cal. Mar. 25, 2025) (discussing music publishers’ motion for a

preliminary injunction seeking relief based on future training of AI models).

         All of the claims except the direct copyright infringement claim were dismissed early on.

The plaintiffs were later granted leave to amend to expand their copyright claim to encompass a

theory of infringement by distribution (based on the allegation that Meta was reuploading the

data it torrented), and to add both a different DMCA claim and a claim under the California

Comprehensive Computer Data Access and Fraud Act (CDAFA). Meta moved to dismiss the

new claims, and its motion was granted as to the CDAFA claim but denied as to the DMCA

claim.

         Often, the next step in a case like this is a motion for class certification by the named

plaintiffs. But sometimes the parties will first move for summary judgment regarding the

individual claims of the named plaintiffs. For defendants in such cases, there is a trade-off. On

the one hand, a defendant could benefit by getting a favorable ruling and disposing of the case

before being subjected to expensive and burdensome class-related discovery and motion practice.

On the other hand, this favorable ruling for the defendant binds only the individual named

plaintiffs, leaving all other members of the proposed class free to sue on the same claims. In this

case, Meta proposed doing summary judgment regarding the individual claims of the named

plaintiffs first, and the Court accepted this approach.
         Thus, after the close of discovery relating to the merits of the named plaintiffs’ claims,

the plaintiffs moved for partial summary judgment, arguing that they had made out a facial claim

for copyright infringement and that Meta’s fair use defense could not possibly apply to negate

that claim. Meta did not dispute that the plaintiffs established a facial case of infringement of

their rights of reproduction. But Meta opposed the plaintiffs’ motion—and indeed filed its own

cross-motion—on the ground that its reproduction was fair use as a matter of law.

         Meta also moved for summary judgment as to the plaintiffs’ DMCA claim; that motion

will be granted in a separate order. With respect to the plaintiffs’ claim that Meta infringed their
copyrights by distributing their works (via leeching or seeding), neither side moved for summary


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judgment, so this will remain a live issue in the case.4

        Six friend-of-the-court briefs (that is, amicus briefs) were also filed. An assortment of

intellectual property law professors and the Electronic Frontier Foundation (a civil liberties

organization) filed briefs in support of Meta. An assortment of copyright professors; the

Copyright Alliance (an organization of creators); the Association of American Publishers; and

the International Association of Scientific, Technical and Medical Publishers filed briefs in

support of the plaintiffs.

III.    FACTOR ONE: THE PURPOSE AND CHARACTER OF THE USE
        The first factor “considers the reasons for, and nature of, the copier’s use of an original

work.” Warhol, 598 U.S. at 528. Several things can be relevant to the “purpose and character” of

a use. One is whether that use is “of a commercial nature or is for nonprofit educational

purposes.” 17 U.S.C. § 107(1). Another might be whether it was made in good or bad faith

(although whether this is relevant is unclear under current law). See Oracle, 593 U.S. at 32–33.

        Primarily, however, the first factor focuses on whether the secondary use is

“transformative”—that is, on whether and to what extent “the new work merely supersedes the


4
  The plaintiffs moved for summary judgment only on the grounds that “Meta copied [their]
copyrighted books without permission” and that its “reproduction . . . without permission . . . is
not fair use.” Pls. MSJ at vii, 19. The plaintiffs did at times suggest that their motion
encompassed their distribution claim. See, e.g., id. at 22 (“Meta’s initial reproduction” was not
fair use because it “result[ed] in distributing copyrighted material.”). But reproduction and
distribution are separate rights that must be considered separately. See 17 U.S.C. § 106(1), (3);
Columbia Pictures Industries, Inc. v. Fun, 710 F.3d 1020, 1034 (9th Cir. 2013) (“Both uploading
and downloading copyrighted material are infringing acts. The former violates the copyright
holder’s right to distribution, the latter the right to reproduction.”).
        As discussed below, the specific manner of Meta’s reproduction (that is, torrenting the
plaintiffs’ books from shadow libraries) is still relevant to whether that reproduction was fair use.
But Meta’s alleged distribution must be addressed independently (unless, maybe, its acquisition
necessarily involved distribution, which does not appear to be the case, see Pls. Ex. 67 at
106:14–108:25, 246:13–248:23, 270:12–16 (explaining that default settings could be changed
such that leeching was not always occurring)). Even if the plaintiffs had moved for summary
judgment as to whether any distribution was fair use, the record on Meta’s alleged distribution is
incomplete, making summary judgment on that issue improper at this point in the case. See
Order Granting as Modified Meta’s Request for Leave to File a Rebuttal Expert Report, Dkt. No.
499 (giving Meta leave to serve supplemental expert report on distribution, with deadline after
Meta’s deadline to oppose the plaintiffs’ motion for summary judgment).



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objects of the original creation (supplanting the original), or instead adds something new, with a

further purpose or different character.” Warhol, 598 U.S. at 528 (cleaned up). Allowing a use

with a “distinct purpose” is often consistent with the goals of copyright because it encourages the

development of new expression “without diminishing the incentive to create.” Id. at 531. On the

other hand, a secondary use with the same purpose as the original work is “more likely to

provide the public with a substantial substitute for” the original. Id. at 531–32 (cleaned up).

       This factor favors Meta. There is no serious question that Meta’s use of the plaintiffs’

books had a “further purpose” and “different character” than the books—that it was highly

transformative. The purpose of Meta’s copying was to train its LLMs, which are innovative tools

that can be used to generate diverse text and perform a wide range of functions. Cf. Oracle, 593

U.S. at 30 (transformative to use copyrighted computer code “to create a new platform that could

be readily used by programmers”). Users can ask Llama to edit an email they have written,

translate an excerpt from or into a foreign language, write a skit based on a hypothetical scenario,

or do any number of other tasks. The purpose of the plaintiffs’ books, by contrast, is to be read

for entertainment or education.

       The plaintiffs do not meaningfully disagree about Llama’s purpose. To the contrary, they

acknowledge that LLMs have “end uses” including serving “as a personal tutor,” assisting “with

creative ideation,” and helping users “generate business reports.” And several of the plaintiffs
testified to using LLMs for various purposes, all distinct from creating or reading an expressive

work like a novel or biography—for instance, to find recipes, get tax or medical advice, translate

documents, or conduct research. All of these functions are different from the use to which the

plaintiffs’ books are generally put. So copying the books to develop a tool that can perform those

functions is a use with a different purpose and character than the books themselves.

                                                 A
       The plaintiffs’ law professor amici argue that Meta’s use has the same purpose and

character as the books because an LLM training on a book is akin to a human reading one. One
might also analogize Meta’s copying of the books to train Llama to a situation in which a


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professor copies a book and gives it to a student so that the student can use the knowledge from

the book (along with knowledge they get from other books) to go do great things. But there are a

few important differences.

       First, an LLM’s consumption of a book is different than a person’s. An LLM ingests text

to learn “statistical patterns” of how words are used together in different contexts. It does so by

taking a piece of text from its training data, removing a word from that text, predicting what that

word will be, and updating its general understanding of language based on whether it was right

or wrong—and then repeating this exercise billions or trillions of times with different text. This

is not how a human reads a book.

       Second, unlike the hypothetical professor, Meta did not just give the plaintiffs’ books to

one person. Meta copied the plaintiffs’ books as part of an effort to create a tool that can generate

a wide range of text. Any person can use that tool to help them create further expression, whether

by having it help them brainstorm or research for a creative writing project (like plaintiff David

Henry Hwang, a playwright and screenwriter) or by having it write code to develop new software

programs (like Lockheed Martin). By creating a tool that anyone can use, Meta’s copying has the

potential to exponentially multiply creative expression in a way that teaching individual people

does not. Cf. Oracle, 593 U.S. at 30.

       In contrast to the copyright professors, the plaintiffs make different (and much weaker)
arguments for why Meta’s use is not transformative. For example, the plaintiffs suggest that

Llama has “no critical bearing” on their books, the way criticism or parody would. But “critique

or commentary on the original” are not “the only uses that will furnish a justification ultimately

qualifying as fair use.” Romanova, 138 F.4th at 115. To the contrary, a use that enables “the

furnishing of valuable information on any subject of public interest” or renders “a valuable

service to the public” might be justified, especially where that benefit is “provided without

allowing public access to the copy.” Id.

       In addition, the plaintiffs argue that Meta’s use is not transformative because Llama will
output material that “mimics” the plaintiffs’ work or writing styles if prompted to do so.


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Therefore, the plaintiffs say, Meta’s use “merely amounts to a ‘repackaging’” of their books. The

plaintiffs point to evidence that they say shows that Meta trained Llama to be able to emulate

certain writers’ styles. Pls. Reply Exs. 111–14. But this evidence does not show that Meta trained

Llama to repackage the plaintiffs’ works. To the contrary, as noted above, even using

“adversarial” prompts designed to get Llama to regurgitate its training data, Llama will not

produce more than 50 words of any of the plaintiffs’ books. Pls. Reply Ex. 79 ¶¶ 79, 82–83, 92.

And there is no indication that it will generate longer portions of text that would function as

“repackaging” of those books. Nor is there even any indication that, as the plaintiffs’ amici

claim, Meta developed Llama with the purpose of enabling it to create books that compete with

the plaintiffs’ (without rising to the level of repackaging them).5 So at most, this evidence shows

that Meta wanted Llama to be able to generate text in certain styles. But style is not

copyrightable—only expression is. See 17 U.S.C. § 102(b); cf. Mattel, Inc. v. MGA

Entertainment, Inc., 616 F.3d 904, 916 (9th Cir. 2010). Even if one possible use of Llama is to

generate text with similarities to unprotectable aspects of the plaintiffs’ books, that does not

mean Meta’s copying had the same purpose as those books.6

                                                    B
        As noted earlier, whether the secondary use is transformative doesn’t dictate the outcome

of the first factor analysis (let alone of the entire fair use inquiry). Also relevant is the
commercial nature of Meta’s use. Although Llama is available under a free license, it was

ultimately developed for commercial reasons, and Meta expects it to generate 460 billion to 1.4

trillion dollars in revenue over the next ten years. Pls. MSJ Ex. 8 at 2. That a use is commercial


5
  This sort of competition—from AI-generated books that are like the plaintiffs’ but not similar
enough to be infringing—is also discussed at length with respect to the fourth factor.
6
  By contrast, consider an LLM that was designed to be used to create works substantially similar
to those on which it was trained, or to create works that competed with the originals without
being substantially similar. Using copyrighted works to train such an LLM could be less
transformative than using them to train a general-purpose LLM, because that use would have the
purpose and character of enabling an LLM to develop substitute works. That said, even then,
training the LLM would still likely be at least somewhat transformative; transformativeness isn’t
an on-off switch.


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“tends to weigh against a finding of fair use” because, all else equal, commercial copying is less

justified than noncommercial copying. Warhol, 598 U.S. at 537 & n.13 (quoting Harper & Row,

471 U.S. at 562). So the fact that Llama may make Meta many billions of dollars is relevant and

shouldn’t be completely brushed aside, as Meta tries to do. As discussed later, if copying would

result in market harm to the protected works, it could matter a great deal whether the copying

was part of a for-profit endeavor as opposed to, say, an academic endeavor. Nevertheless,

commercialism isn’t dispositive of the first factor and tends to be less important when the

secondary use is highly transformative. See Oracle, 593 U.S. at 32; Kelly v. Arriba Soft Corp.,

336 F.3d 811, 818 (9th Cir. 2003). Thus, while the profit Meta stands to gain from its

development of a product trained on the plaintiffs’ works is relevant to the fair use analysis

overall, it does not tilt the first factor in the plaintiffs’ favor.

        The same is true of the manner in which Meta acquired the plaintiffs’ books. The

plaintiffs are wrong that the fact that Meta downloaded the books from shadow libraries and did

not start with an “authorized copy” of each book gives them an automatic win. To say that

Meta’s downloading was “piracy” and thus cannot be fair use begs the question because the

whole point of fair use analysis is to determine whether a given act of copying was unlawful. See

generally Amicus Br. of Electronic Frontier Foundation. Although the Federal Circuit once

suggested the contrary in Atari Games Corp. v. Nintendo of America Inc., 975 F.2d 832, 843
(Fed. Cir. 1992), that opinion overread the cases on which it relied for its statement about the

need to start with an authorized copy, see, e.g., Religious Technology Center v. Netcom On-Line

Communication Services, Inc., 923 F. Supp. 1231, 1244 n.14 (N.D. Cal. 1995) (discussing

Atari’s reasoning and concluding that the cases it relied on misread Harper & Row).

        But Meta is also wrong to suggest that its use of shadow libraries is irrelevant to whether

its copying was fair use. It’s relevant—or at least potentially relevant—in a few different ways.

        First, Meta’s use of shadow libraries is relevant to the issue of bad faith, which is “often

taken up under the first factor.” Oracle, 593 U.S. at 32. The law is in flux about whether bad
faith is relevant to fair use. Compare, e.g., id. at 32 (noting that “skepticism about whether bad


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faith has any role in a fair use analysis” is “justifiable”), with Perfect 10, Inc. v. Amazon.com,

Inc., 508 F.3d 1146, 1164 n.8 (9th Cir. 2007) (“[A] party claiming fair use must act in a manner

generally compatible with principles of good faith and fair dealing.”), and Triller Fight Club II

LLC v. H3 Podcast, No. CV21-3942, 2023 WL 11877604, at *8 (C.D. Cal. Sep. 15, 2023)

(determining that Perfect 10’s language regarding good faith was still binding despite Oracle’s

“skepticism”). It seems like good faith versus bad faith shouldn’t be especially relevant: The

purpose of fair use is to allow new expression that won’t substitute for the original work, and

whether a given use was made in good or bad faith wouldn’t seem to affect the likelihood of that

use substituting for the original.7 But even if bad faith is relevant, it doesn’t move the needle

here, given the rest of the summary judgment record. See Oracle, 593 U.S. at 33 (describing bad

faith as a “factbound consideration” that was “not determinative” in that case).

       Second, downloading copyrighted material from shadow libraries would be relevant if it

benefitted those who created the libraries and thus supported and perpetuated their unauthorized

copying and distribution of copyrighted works. In the vast majority of cases, this sort of peer-to-

peer file-sharing will constitute copyright infringement. Some of the libraries Meta used have

themselves been found liable for infringement. See, e.g., Elsevier Inc. v. Sci-Hub, No. 15-cv-

4282, 2017 WL 3868800, at *1–2 (S.D.N.Y. June 21, 2017) (entering default judgment and

finding that LibGen was liable for willful copyright infringement). Some of their operators have
even been indicted for criminal copyright infringement. See Indictment, United States v.

Napolsky, No. 22-cr-525 (E.D.N.Y. Nov. 16, 2022), Dkt. No. 4 (indictment against founders of

7
  It may seem inconsistent to say that commercialism is relevant but bad faith shouldn’t be. After
all, commercial uses can still entail the creation of new expression for public consumption. The
difference between commercialism and good faith, however, is that the former has to do with the
secondary use while the latter mostly has to do with the secondary user. The goal of copyright is
to encourage “activity that is useful to the public education.” Pierre N. Leval, Toward a Fair Use
Standard, 103 Harv. L. Rev. 1105, 1126 (1990). Although not dispositive, commercialism is
relevant because nonprofit uses are (at least theoretically) more likely to be aimed at benefiting
the public than are for-profit uses. Cf. 17 U.S.C. § 107(1) (juxtaposing “commercial nature” with
“nonprofit educational purposes”); Sony, 464 U.S. at 448–51. Good faith, by contrast, focuses on
“the morality of the secondary user”—not on “whether her creation . . . is of the type” that
benefits the public and thus should be protected by copyright law. Leval, 103 Harv. L. Rev. at
1126.


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Z-Library). So if Meta’s act of downloading propped up these libraries or perpetuated their

unlawful activities—for instance, if they got ad revenue from Meta’s visits to their websites—

then that could affect the “character” of Meta’s use. But the plaintiffs have not submitted any

evidence about this. In any event, because any such effects would be even more relevant to the

fourth factor (insofar as they could contribute to use of the libraries and thus infringement by

others), this issue is discussed below as part of the analysis of that factor.8

                                                   C
        The last issue relating to the character of Meta’s use (and thus the first factor) is the

relationship between Meta’s downloading of the plaintiffs’ books and Meta’s use of the books to

train Llama. To the extent the plaintiffs suggest that the former must be considered wholly

separately from the latter, they are wrong. To be sure, Meta’s downloading is a different use

from any copying done in the course of LLM training. But that downloading must still be

considered in light of its ultimate, highly transformative purpose: training Llama. See Authors

Guild v. Google, Inc. (Google Books), 804 F.3d 202, 216–18 (2d Cir. 2015) (considering the

creation of digital copies of books in light of the secondary user’s overall purpose of creating a

searchable database); cf. Warhol, 598 U.S. at 533 (noting that different uses must be considered

separately, but that “the same copying may be fair when used for one purpose but not another”);

contra Order on Fair Use at 18, Bartz, No. 24-cv-5417. Because Meta’s ultimate use of the
plaintiffs’ books was transformative, so too was Meta’s downloading of those books.

        The plaintiffs also assert that Meta downloaded multiple copies of the databases

containing their books, and that only some of these copies were used for LLM training, so the

downloading of the ones that were not used for training cannot be fair use. But all of the

8
  Meta’s use of shadow libraries is also clearly relevant to the plaintiffs’ distribution claim. But
as discussed above, reproduction and distribution present separate issues. So even if Meta’s
torrenting from shadow libraries did entail distribution, that wouldn’t be dispositive of whether
its reproduction was fair use.
        Separately, if Meta’s downloading materially contributed to the shadow libraries’ own
infringement, Meta could potentially be liable as a contributory infringer. See Perfect 10, 508
F.3d at 1170–72. But the plaintiffs did not bring a contributory infringement claim or develop
any evidence in support of one.


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downloads the plaintiffs identify had the ultimate purpose of LLM training. The plaintiffs say

that Meta only used its initial October 2022 download of LibGen to see whether the books in the

database made for good training data. Pls. Reply at 12. This is a reasonable first step towards

training an LLM. See Pls. MSJ Ex. 32 at 3. The plaintiffs say that Meta cross-referenced its next

download of LibGen and its first download of Anna’s Archive with publisher catalogues to see

whether it was still worth pursuing licensing (or whether all the books available for licensing

were already included in those databases). But the plaintiffs concede that these downloads were

also used as training data. See Pls. Reply at 13–14. And there is no indication that comparing the

books in those databases to the books in another entailed any additional copying. So that cross-

referencing alone cannot create infringement liability and does not need to separately constitute

fair use. Cf. Warhol, 598 U.S. at 534 & n.10 (discussing application of fair use test to different

uses).

         Finally, the plaintiffs say that after Meta abandoned licensing and decided to use the

books it downloaded from shadow libraries as training data, it also downloaded several other

“copies of pirated datasets, only some of which ever made it into an LLM for training.” But they

provide no evidence that this was actually the case. They point only to deposition testimony in

which a Meta employee said she didn’t know whether Meta used every LibGen copy it

downloaded for training. Pls. Reply Ex. 109 at 66:17–20. Two other Meta AI employees,
meanwhile, said that they weren’t aware of any downloads that weren’t used as training data or

for related efforts like the experiments mentioned above. Pineau Decl. ISO Meta Reply ¶ 6;

Kambadur Decl. ISO Meta Reply ¶ 7.9 In any event, even if Meta did download some copies that

weren’t ultimately used for training, fair use doesn’t require that the secondary user make the

lowest number of copies possible. Cf. Sony Computer Entertainment, Inc. v. Connectix Corp.,

203 F.3d 596, 601, 605 (9th Cir. 2000).

9
  The plaintiffs’ objections to these declarations are overruled because a party may attach to a
reply brief declarations that are a “reasonable response to the opposition,” and these declarations
were not inconsistent with the declarants’ deposition testimony. Hodges v. Hertz Corp., 351 F.
Supp. 3d 1227, 1249 (N.D. Cal. 2018); see also Civil L.R. 7-3(c).


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IV.    FACTOR TWO: THE NATURE OF THE COPYRIGHTED WORK
       The second factor recognizes that “some works are closer to the core of intended

copyright protection than others, with the consequence that fair use is more difficult to establish

when the former works are copied.” Campbell, 510 U.S. at 586. Works receiving greater

copyright protection include creative ones like books and movies; works receiving lesser

protection include computer code. Oracle, 593 U.S. at 29.

       This factor favors the plaintiffs. Their books—mostly novels, memoirs, and plays—are

highly expressive works “of the type that the copyright laws value and seek to protect.”

Hachette, 115 F.4th at 187 (quoting Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 98 (2d Cir.

2014)). That some of their works may be factual (like an autobiography) as opposed to fictional

does not meaningfully change this conclusion, because copyright still protects an author’s

“manner of expressing” facts. Google Books, 804 F.3d at 220.

       Meta argues that this factor favors it anyway because Meta only used the plaintiffs’ books

to gain access to their “functional elements,” not to capitalize on their creative expression. Meta

primarily relies on two Ninth Circuit cases involving “intermediate copying.” In both of those

cases, a video game company copied a video game console manufacturer’s copyrighted code and

reverse-engineered it to understand certain functional elements of that code. This allowed the

game companies to build their own products that would work with the plaintiffs’. In each case,

the Ninth Circuit held that the defendant’s fair use defense would likely succeed because,
although the defendants copied expressive elements of the plaintiffs’ code, they only did so to

access the code’s unprotected, functional elements. See Sega Enterprises Ltd. v. Accolade, Inc.,

977 F.2d 1510, 1520–26 (9th Cir. 1992); Connectix, 203 F.3d at 602.

       But unlike the uses in those cases, Meta’s use of the plaintiffs’ books does depend on the

books’ creative expression. As Meta itself notes, LLMs are trained through learning about

“statistical relationships between words and concepts” and collecting “statistical data regarding

word order, frequencies [what words are used and how often], grammar, and syntax.” Word
order, word choice, grammar, and syntax are how people express their ideas. See Harper & Row,



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471 U.S. at 548 (discussing how “ordering and choice of words” are expression under even a

narrow interpretation of what counts as expression). So even though LLMs may only learn about

“statistical relationships,” those relationships are the product of creative expression. This is true

even though, as discussed earlier, Llama consumes that expression in a different way than a

person would.

       To support its argument that it copied the plaintiffs’ books to extract non-expressive

information (such that the intermediate copying cases should apply), Meta cites Google Books.

But that case is distinguishable. There, the plaintiffs were authors who alleged that Google

committed copyright infringement by making digital copies of their books and creating a

database that users could search to see what books in the database contained the search terms.

804 F.3d at 207–10. Unlike here, the technology at issue in Google Books was content agnostic:

The database wouldn’t work any better or worse if it contained books full of complete gibberish

or written in unknown languages. If someone searched for that text, those books would appear.

Here, by contrast, if Meta’s LLMs are to generate high-quality text, they need coherent,

reasonably high-quality training data. In other words, they need high-quality expression.

Therefore, the “intermediate copying” cases don’t apply. See Disney Enterprises, Inc. v.

VidAngel, Inc., 869 F.3d 848, 862 n.12 (9th Cir. 2017).

       The second factor, however, “has rarely played a significant role in the determination of a
fair use dispute.” Google Books, 804 F.3d at 220. And it applies “with less force” when the copied

works have already been published and the secondary user therefore cannot interfere with the

creator’s right to control the first public appearance of their work. VHT, Inc. v. Zillow Group, Inc.,

918 F.3d 723, 744 (9th Cir. 2019) (quoting Kelly, 336 F.3d at 820). So the fact that the second

factor favors the plaintiffs doesn’t mean much for the analysis as a whole.

V.     FACTOR THREE: THE AMOUNT AND SUBSTANTIALITY OF THE PORTION
       USED IN RELATION TO THE COPYRIGHTED WORK AS A WHOLE
       This factor “asks whether ‘the amount and substantiality of the portion used’” are
“reasonable in relation to the purpose of the copying.” Campbell, 510 U.S. at 586 (quoting 17



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U.S.C. § 107(3)). This factor is therefore related to the first, because “the extent of permissible

copying varies with the purpose and character of the use.” Id. at 586–87.

       As an initial matter, the amount copied doesn’t seem especially relevant in this case. In a

case involving, for instance, a musical parody, copying large portions of the original song might

increase the parody’s “potential for market substitution.” See id. at 589. But given that Meta’s

LLMs won’t output any meaningful amount of the plaintiffs’ books, it’s not clear how or why

Meta’s copying would be less likely to lead to the creation of direct substitutes for the books if

Meta had copied less of them. Cf. Hachette, 115 F.4th at 188–89 (“The relevant

consideration . . . is not the amount of copyrighted material used by the copier, but ‘the amount

of copyrighted material made available to the public.’” (quoting Fox News Network, LLC v.

TVEyes, 883 F.3d 169, 179 (2d Cir. 2018))).

       In any event, this factor favors Meta, even though it copied the plaintiffs’ books in their

entirety. The amount that Meta copied was reasonable given its relationship to Meta’s

transformative purpose. See Oracle, 593 U.S. at 34. Everyone agrees that LLMs work better if

they are trained on more high-quality material. See Ungar Decl. ISO Meta MSJ ¶¶ 42–48; Pls.

Reply Ex. 115 ¶¶ 79–80. So feeding a whole book to an LLM does more to train it than would

feeding it only half of that book. With this in mind, it was “reasonably necessary” for Meta to

“make use of the entirety of the works.” HathiTrust, 755 F.3d at 98.10

VI.    FACTOR FOUR: THE EFFECT OF THE USE UPON THE POTENTIAL
       MARKET FOR OR VALUE OF THE COPYRIGHTED WORK
       This factor looks to both the “extent of market harm caused by the particular actions of

the alleged infringer” and to “‘whether unrestricted and widespread conduct of the sort engaged

in by the defendant . . . would result in a substantially adverse impact on the potential market’ for

the original.” Campbell, 510 U.S. at 590 (quoting 3 M. Nimmer & D. Nimmer, Nimmer on

Copyright § 13.05 (1993)). The “only harm” relevant to this factor “is the harm of market

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  Meta’s argument here does cut against it on the fourth factor, however. As discussed below, an
LLM trained on copyrighted books is more likely to be capable of generating books that can
compete with the ones on which it was trained.


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substitution.” Id. at 593. When, by contrast, the secondary work kills demand for the first

through criticism or parody, the harm is not cognizable under the Copyright Act. Id. at 591–92.

Also relevant to this factor are “the public benefits the copying will likely produce.” Oracle, 593

U.S. at 35.

       As noted previously, the fourth factor is “undoubtedly the single most important element

of fair use.” Harper & Row, 471 U.S. at 566. Meta is therefore wrong to suggest that, because

the first factor strongly favors it, the inquiry should basically end there. To the contrary, given

the fourth factor’s importance, it’s easy to imagine a situation in which a secondary use is highly

transformative but the secondary user nonetheless loses on fair use because allowing people to

engage in that kind of use would have too great an effect on the market for the original work. But

by the same token, in a case where the first factor cuts strongly in favor of the defendant,

generally the plaintiff’s only chance to defeat fair use will be to win decisively on factor four.

       In a case involving the use of copyrighted works to train generative AI models, there are

at least three ways a plaintiff might try to argue that the defendant’s copying harmed the market

for the works (or that the market would be harmed if that copying were widespread). First, the

plaintiff might claim that the model will regurgitate their works (or outputs that are substantially

similar), thereby allowing users to access those works or substitutes for them for free via the

model. Second, the plaintiff might point to the market for licensing their works for AI training
and contend that unauthorized copying for training harms that market (or precludes the

development of that market). Third, the plaintiff might argue that, even if the model can’t

regurgitate their own works or generate substantially similar ones, it can generate works that are

similar enough (in subject matter or genre) that they will compete with the originals and thereby

indirectly substitute for them. In this case, the first two arguments fail. The third argument is far

more promising, but the plaintiffs’ presentation is so weak that it does not move the needle, or

even raise a dispute of fact sufficient to defeat summary judgment.

                                                  A
       If Llama could be used to generate significant portions of the plaintiffs’ books—or text so


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similar to their books as to be infringing in its own right—that would threaten the market for the

books because people would read those outputs instead. But that theory of harm is not viable in

this particular case because, as discussed above, Llama does not allow users to generate any

meaningful portion of the plaintiffs’ books. Neither party’s expert opined that Llama was able to

regurgitate more than 50 words from any of the plaintiffs’ books, even in response to

“adversarial” prompting designed specifically to make LLMs regurgitate. See Pls. Ex. 79 ¶¶ 71–

72, 82–84, 92. And the plaintiffs’ expert conceded that Llama would not generate “any

significant percentage” of their books. Meta MSJ Ex. 24 at 237:16–19. In Google Books, by way

of comparison, the Second Circuit held that the secondary use did “not threaten the rights holders

with any significant harm to the value of their copyrights or diminish their harvest of copyright

revenue” despite allowing users to see snippets adding up to as much as 16% of a book.11 804

F.3d at 224. Llama’s ability to regurgitate miniscule portions of the plaintiffs’ books if

manipulated into doing so does not threaten to have a “meaningful or significant effect ‘upon the

potential market for or value of’” the plaintiffs’ books. Id. (quoting 17 U.S.C. § 107(4)).

                                                   B
        The plaintiffs’ primary theory of market harm is that Meta’s unauthorized use of their

books for LLM training harms the market for licensing their books for that purpose. The

plaintiffs devote nearly all of their discussion of the fourth factor to this theory. The parties
therefore go back and forth at length about whether a market for licensing general trade books

exists or is likely to develop.

        But whether such a market exists or is likely to develop is irrelevant, because this market

is not one that the plaintiffs are legally entitled to monopolize. In every fair use case, the

11
   As Google Books noted, it isn’t the case that allowing someone to see 16% of a book could
never threaten substantial harm. The tool there allowed users to see snippets that “were usually
not sequential but scattered randomly throughout the book.” 804 F.3d at 222. If it “could be used
to reveal a coherent block amounting to 16% of a book, that would raise a very different
question.” Id. at 223. A portion of a work that is small in quantitative terms may also still be
significant if it is “the heart of” the work or otherwise qualitatively important. Cf. Harper &
Row, 471 U.S. at 565 (quoting Harper & Row, Publishers, Inc. v. Nation Enterprises, 557 F.
Supp. 1067, 1072 (S.D.N.Y. 1983)).


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“plaintiff suffers a loss of a potential market if that potential [market] is defined as the theoretical

market for licensing” the use at issue in the case. Tresóna Multimedia, LLC v. Burbank High

School Vocal Music Association, 953 F.3d 638, 652 (9th Cir. 2020) (emphasis omitted) (quoting

4 Melville B. Nimmer & David Nimmer, Nimmer on Copyright § 13.05 (2019)). Therefore, to

prevent the fourth factor analysis from becoming circular and favoring the rightsholder in every

case, harm from the loss of fees paid to license a work for a transformative purpose is not

cognizable. Id.; Bill Graham Archives v. Dorling Kindersley Ltd., 448 F.3d 605, 614–15 (2d Cir.

2006); see also Oracle, 593 U.S. at 38 (“cautioning against the ‘danger of circularity’” (quoting

4 Nimmer § 13.05)).

                                                   C
        The third way that using copyrighted books to train an LLM might harm the market for

those works is by helping to enable the rapid generation of countless works that compete with the

originals, even if those works aren’t themselves infringing. Assume for this discussion that

people can (or will soon be able to) use LLMs to generate massive amounts of text in

significantly less time than it would take to write that text, and using a fraction of the creativity.

People could thus use LLMs to create books and then sell them, competing with books written

by human authors for sales and attention. Indeed, to some extent, this appears to be occurring

already—one expert for the plaintiffs briefly discusses reports of AI-generated books “flooding
Amazon.” Pls. MSJ Ex. 76 ¶ 199; see id. ¶¶ 193–207. People might even be motivated to make

those books available for free, given how easily it will presumably be to prompt an LLM to

create them. Harm from this form of competition is the harm of market dilution. Or as one

commentator describes it, the harm of “indirect” substitution, rather than “direct” substitution

(which would be the first form of harm described). See Matthew Sag, Fairness and Fair Use in

Generative AI, 92 Fordham L. Rev. 1887, 1916–20 (2024).

        Of course, not all copyrighted works would have their markets diluted equally by AI-

generated competitors. It seems unlikely, for instance, that AI-generated books would
meaningfully siphon sales away from well-known authors who sell books to people looking for


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books by those particular authors. But it’s easy to imagine that AI-generated books could

successfully crowd out lesser-known works or works by up-and-coming authors. While AI-

generated books probably wouldn’t have much of an effect on the market for the works of

Agatha Christie, they could very well prevent the next Agatha Christie from getting noticed or

selling enough books to keep writing.12

       This effect also seems likely to be more pronounced with respect to certain types of

works. For instance, an AI model that can generate high-quality images at will might be expected

to greatly affect the market for such images, diminishing the incentive for humans to create

them. An LLM that could generate accurate information about current events might be expected

to greatly harm the print news market. The market for certain nonfiction works—for example,

books about how to take care of your garden—could be greatly diminished by the ability of

LLMs to produce books on that topic. For fiction works, it might be more dependent on the

author or the genre in which that author operates.

       The difference might be in part because some works are relatively functional and

generally less dependent on the author’s creativity. When picking a news article, readers want

something that will tell them about a current (or past) event clearly, accurately, and concisely.

When picking a novel, by contrast, readers may care about a much longer list of characteristics.

They may care, for instance, about tone, thematic depth, writing style, plot, or characters; they
may want a book that contains a number of plot twists or depicts a certain type of character

development. These elements of a novel depend greatly on the creativity of the author. While a

news article is also a product of its author’s creativity (especially with respect to things like


12
  To be clear, the point is not that authors are entitled to more or less copyright protection based
on how famous or popular they are. Cf. Warhol, 598 U.S. at 544 & n.19. The point is that
different works may have different markets that will be affected differently by floods of AI-
generated competitors. See, e.g., Cariou v. Prince, 714 F.3d 694, 709 (2d Cir. 2013) (“Prince’s
work appeals to an entirely different sort of collector than Cariou’s.”); Andy Warhol Foundation
for Visual Arts, Inc. v. Goldsmith, 11 F.4th 26, 48 (2d Cir. 2021) (“We cannot . . . endorse the
district court’s implicit rationale that the market for Warhol’s works is the market for
‘Warhols,’ . . . [but] we see no reason to disturb the district court’s overall conclusion that the
two works occupy distinct markets[.]”), aff’d, Warhol 598 U.S. 508.


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structure and diction), there are many more creative choices in the average novel than the

average news article, and those creative choices are more important to the average novel’s

quality. Relatedly, one could imagine people caring more about whether a novel is AI-generated

(as opposed to the product of human creativity) than whether a news article is AI-generated.13

       It also should be noted that, when considering market dilution, the proper comparison

isn’t to a world with no LLMs, but to a world where LLMs weren’t trained on copyrighted

books. Perhaps an LLM trained only on public domain works could still be capable of quickly

generating large numbers of books that could compete for sales with copyrighted books. But

there is plenty of evidence in the record that training on books substantially benefits LLMs’

creativity and ability to generate long pieces of text. E.g., Pls. MSJ Ex. 25 at 2; id. Ex. 27 ¶ 183.

And because LLMs perform better the more text they are trained on, an LLM trained only on

public domain books would presumably, all else equal, lag significantly behind a book trained

also on copyrighted ones. See Ungar Decl. ISO Meta MSJ ¶ 45. So training an LLM on

copyrighted books would seem, in most circumstances, to make that LLM better able to generate

works that could dilute the market for the books in its training data.

       Meta and its law professor amici, as well as the Matthew Sag article cited above, argue

that market dilution does not count under the fourth factor. They argue that harm caused by an

LLM’s outputs is only relevant if the outputs are themselves infringing—that is, if the LLM
regurgitates copyrighted material (or generates text that is substantially similar to copyrighted

material). See May 1 Hr’g Tr. at 22:7–24:21; 108–09; Amicus Br. of Intellectual Property Law

Professors at 9–10; see also Sag, 92 Fordham L. Rev. at 1919–20. But that can’t be right. To be

sure, it would be easier to conclude that the market for copied books would be harmed by an

LLM that is capable of regurgitating those books or generating substantially similar text. But less


13
  This is not to suggest that news articles or other works that may be less dependent on their
author’s creativity are thus less deserving of protection, or that it would therefore be more
appropriate to use those works to train an LLM. To the contrary, as noted with respect to the
second factor, nonfiction works are still protected by copyright because the law protects their
authors’ choices as to how to express facts. See Google Books, 804 F.3d at 220.


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similar outputs, such as books on the same topics or in the same genres, can still compete for

sales with the books in the training data. And by taking sales from those books, or by flooding

stores and online marketplaces so that some of those books don’t get noticed and purchased,

those outputs would reduce the incentive for authors to create—the harm that copyright aims to

prevent.

        The Supreme Court has said that the “only harm” that matters under the fourth factor “is

the harm of market substitution.” Campbell, 510 U.S. at 593. But indirect substitution is still

substitution: If someone bought a romance novel written by an LLM instead of a romance novel

written by a human author, the LLM-generated novel is substituting for the human-written one.

This is different from the (non-cognizable) harm caused by criticism or commentary, which can

harm demand for an original work without serving as a replacement for it.

        Relatedly, Meta argues that “legitimate” competition from noninfringing secondary

works is not cognizable under the fourth factor. It cites the intermediate copying cases for this

proposition. See Sega, 977 F.2d at 1523–24; Connectix, 203 F.3d at 607. But key to those cases’

reasoning was the fact that the secondary users’ competing products did not benefit from the

creative expression in the works they copied. By contrast, as discussed, LLMs are better able to

generate text (including competing works) because they are trained on the creative expression in

copyrighted books. So this competition is not “legitimate” within the meaning of those cases.
        It’s true that, in many copyright cases, this concept of market dilution or indirect

substitution is not particularly important. That’s because, in a more typical case, an original work

is being compared to a single secondary work. If the secondary work is somewhat similar, but

not so similar as to effectively be a copy, it still might have a small indirect effect on the market

for the original work. But that likely won’t matter. Recall that the fourth factor looks to whether

“conduct of the sort engaged in by the defendant” would have a “substantially adverse impact on

the potential market for the original.” Campbell, 510 U.S. at 590 (emphasis added) (quoting 3

Nimmer § 13.05). The existence of some harm from indirect substitution isn’t dispositive of the
fourth factor or the fair use inquiry. Where, for instance, the first factor cuts in favor of the


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secondary user, the law might tolerate a little bit of competition. See Google Books, 804 F.3d at

224. In cases involving a single secondary work that’s similar-but-not-too-similar, it’s unlikely

that harm from market dilution would be significant enough to matter. Even considering the

effect of “widespread conduct of the sort engaged in by the defendant,” Oracle, 593 U.S. at 38

(quoting 4 Nimmer § 13.05), creating one indirectly substitutional work at a time could only

have so great an effect on the market for the original.

        This case is different. This is not a case where an original work is being compared to one

secondary work. Nor is this case like the previous fair use cases involving creation of a digital

tool. In those cases, like Google Books and Perfect 10, the tool could at most be used to access

part or all of the original works. This case, unlike any of those cases, involves a technology that

can generate literally millions of secondary works, with a miniscule fraction of the time and

creativity used to create the original works it was trained on. No other use—whether it’s the

creation of a single secondary work or the creation of other digital tools—has anything near the

potential to flood the market with competing works the way that LLM training does. And so the

concept of market dilution becomes highly relevant.

        In arguing that this sort of harm doesn’t count just because it’s never made a difference in

a case before, Meta makes the mistake the Supreme Court instructs parties and courts to avoid:

robotically applying concepts from previous cases without stepping back to consider context.
Fair use is meant to be a flexible doctrine that takes account of “significant changes in

technology.” Oracle, 593 U.S. at 19 (quoting Sony, 464 U.S. at 430). Courts can’t stick their

heads in the sand to an obvious way that a new technology might severely harm the incentive to

create, just because the issue has not come up before. Indeed, it seems likely that market dilution

will often cause plaintiffs to decisively win the fourth factor—and thus win the fair use question

overall—in cases like this.

        But courts can’t decide cases based on what they think will or should happen in other

cases. They must decide cases based on the arguments presented and the evidence submitted by
the parties. The question, then, is whether these particular thirteen plaintiffs in this particular


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case have presented enough evidence to win on this factor. Or, to put it more precisely given the

procedural posture of this case, whether these plaintiffs have presented enough evidence to raise

a genuine dispute of material fact sufficient to give the question of market dilution to a jury. The

answer is no.

       In their complaint, the plaintiffs asserted only two types of market harm—that users of

Llama can reproduce text from their books, and that Meta’s copying harmed the market for

licensing copyrighted materials to companies for AI training. As for market dilution—the notion

that allowing companies like Meta to copy their works to train products like Llama would

inevitably cause the market for the plaintiffs’ works to be flooded with similar works—the

plaintiffs never so much as mentioned it in their complaint. Nor did they mention it in their own

summary judgment motion.

       Naturally, given the allegations in the complaint, Meta’s cross-motion for summary

judgment focused on defeating the first two theories. But Meta also noted in its motion that the

plaintiffs hadn’t presented any evidence that Meta’s use of their books to train Llama had

harmed book sales. See Meta MSJ Exs. 8–9. And Meta presented its own expert testimony

explaining that Llama 3’s release did not have any discernible effect on the plaintiffs’ sales (or

those of other books in Llama’s training data), at least in the period shortly after the release. See

Sinkinson Decl. ISO Meta MSJ ¶¶ 18–35.
       In opposition, the plaintiffs’ primary response was that this was beside the point because

of their first two theories. They did make fleeting reference to a report by one of their experts,

who briefly discussed the concept of indirect substitution and mentioned articles discussing how

AI-created books are starting to flood Amazon. See Pls. Reply Ex. 126 ¶¶ 193–207. But this

discussion generates more questions than answers.

       First, is Llama capable of generating such books? If it isn’t currently, will it be capable of

doing so in the near future? Presumably the answer is yes, but that’s not a foregone conclusion.

An LLM could, for instance, be configured to be unable to produce book-length or book-style
outputs. So the fact that books are being created by some LLM does not automatically mean that


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Llama can create them or will be able to do so soon.

       Second, what are these AI-generated books? Do they compete with Sarah Silverman’s

memoir? With plaintiff Matthew Klam’s book of short stories? With Rachel Louise Snyder’s

nonfiction work on domestic violence? The plaintiffs provide no analysis of the markets for their

books, no discussion of whether these markets are or could be affected by AI-generated books,

and no explanation of whether the existing AI-generated books referenced in the expert report

compete in these markets.

       Third, what impact does this competition actually have on sales of the books it competes

with? Does it drown out those books entirely? Does it just chisel at their sales at the margins? Or,

as discussed above and seems likely, does it depend on the book—are readers of romance novels

happy to buy AI-generated ones, while all the people who want to read Sarah Silverman’s

memoir still want to read it over AI-generated comic memoirs? Whatever the effects have been

thus far, are they likely to increase in the future, as more and more AI-generated books are

written, and as LLMs get better and better at writing human-like text?

       Fourth, how does the threat to the market for the plaintiffs’ books in a world where LLM

developers can copy those books compare to the threat to the market for the plaintiffs’ books in a

world where the developers can’t copy them? There is no hint of that in the briefs or evidence

presented by the plaintiffs.
       The analysis is complicated somewhat by the fact that fair use is an affirmative defense

and that Meta moved for summary judgment on it. For those reasons, Meta had the burden of

presenting evidence that its copying doesn’t threaten to substantially harm the market for the

plaintiffs’ books. It didn’t conclusively establish that its copying couldn’t do so in the future—

potentially because its copying did in fact make Llama better able to generate countless works

that will dilute the market for the plaintiffs’ books. But where a defendant introduces evidence of

a lack of market harm, “and the plaintiff fails to introduce empirical evidence countering such a

showing, the fourth factor should be weighed in the defendant’s favor.” Patry on Fair Use
§ 6:13; see also Seltzer v. Green Day, Inc., 725 F.3d 1170, 1179 (9th Cir. 2013); cf. Perfect 10,


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508 F.3d at 1168. That is exactly what happened here. Meta introduced evidence that its copying

hasn’t caused market harm. The plaintiffs presented no empirical evidence to the contrary—no

evidence that the copying has already caused market harm, and no evidence that the copying is

likely to cause market harm in the future. All the plaintiffs presented is speculation, and

speculation is insufficient to raise a genuine issue of fact and defeat summary judgment. E.g.,

Anheuser-Busch, Inc. v. Natural Beverage Distributors, 69 F.3d 337, 345 (9th Cir. 1995).

       The plaintiffs argue that they didn’t need to present empirical evidence because market

harm can be inferred. For this argument, they cite to Hachette, in which the Second Circuit

inferred market harm—even though the plaintiffs had not provided “empirical data” showing any

and the secondary user presented expert testimony that there was none—because it was “self-

evident” that the secondary use would cause such harm if widespread. 115 F.4th at 192–93. In

Hachette, the secondary user maintained a database that let internet users “download an identical

copy of” the plaintiffs’ books for free. Id. at 194. The secondary use therefore offered a directly

“competing substitute” for the original books. Id. at 195.

       While it made sense to infer market harm in Hachette, it doesn’t make sense to do so

here. First, the Supreme Court has stated that no “inference of market harm . . . is applicable to a

case involving something beyond mere duplication for commercial purposes.” Campbell, 510

U.S. at 591. In Hachette, the secondary use was basically “mere duplication.” Here, by contrast,
Meta’s use is highly transformative and has a purpose well beyond that. Second, unlike in

Hachette, Meta’s use does not let users access any significant portion of the plaintiffs’ books, so

it isn’t self-evident that Meta’s use would create harm via direct substitution. Nor is it self-

evident that Llama will harm the book sale market by enabling users to create a flood of

competing books. It’s possible, even likely, that Llama will harm the book sale market. But to

conclude that it will requires inferring that Llama (and not just any LLM) can be used to create

such books, that it will be used to create such books, that consumers will purchase those books

instead of books written by human authors, that consumers will buy those books instead of the
plaintiffs’ books in particular, and that Llama is meaningfully better at creating those books


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because it was trained on copyrighted material. In Hachette, on the other hand, the only

necessary inference was that readers might choose to download the plaintiffs’ books for free

instead of paying for them—a much shorter (and more obvious) inferential leap. Cf. American

Society for Testing & Materials v. Public.Resource.Org, 82 F.4th 1262, 1271–72 (D.C. Cir.

2023).

         On this record, then, Meta has defeated the plaintiffs’ half-hearted argument that its

copying causes or threatens significant market harm. That conclusion may be in significant

tension with reality, but it’s dictated by the choice the plaintiffs made to put forward two flawed

theories of market harm while failing to present meaningful evidence on the effect of training

LLMs like Llama with their books on the market for those books.14

                                                  D
         Two other issues are relevant to the fourth factor. First, as noted above, is whether Meta’s

use of shadow libraries benefited those libraries or their other users. If it did, then this would be

relevant to the fourth factor. It would mean that Meta’s copying helped others acquire

copyrighted works, potentially including the plaintiffs’ works, without paying for them (and

without any indication that those other people were acquiring the works for fair use purposes).

But although the plaintiffs discussed Meta’s use of shadow libraries at length, they did not argue

that it had these effects or was relevant to the fourth factor beyond allowing Meta to get the
books without paying. At the hearing, the plaintiffs’ counsel did suggest that, by using shadow

libraries, Meta (and other companies like it) would reduce the stigma associated with shadow

14
   The plaintiffs also assert that the market for their works was harmed in the more narrow sense
that, if Meta had not downloaded the books from a shadow library, it would have been required
to buy the books. But as already discussed, even though that downloading is a separate use, it
must be considered in light of its overall purpose. For instance, imagine a researcher who
downloaded books from a shadow library in the process of writing an article on shadow libraries,
and only did so for their research. That downloading would almost certainly be a fair use. Of
course, in that example, the downloader has less ability to procure the books elsewhere than
Meta did. But the point is that downloading from a shadow library, which the plaintiffs refer to
as “unmitigated piracy,” must be viewed in light of its ultimate end. Because Meta’s purpose of
LLM training is so transformative, the plaintiffs needed to win decisively on the fourth factor.
The loss of isolated sales to AI developers is not the kind of market harm that could tip the scales
for the plaintiffs.


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libraries and encourage more people to use them. May 1 Hr’g Tr. at 92–93. It’s not clear whether

this would matter in the overall analysis. But in any event, counsel conceded that the record

contains no evidence of this dynamic playing out. Id. at 93–94.15

       Second is the public benefit associated with Meta’s copying. Neither side’s presentation

on this front does much to move the needle. The plaintiffs say that sanctioning Meta’s conduct

would encourage piracy by incentivizing other LLM companies to pirate and to “support and

defend” shadow libraries “that make stolen works available for free.” There is no evidence in the

record that Meta (or any other LLM developer) is actively supporting or otherwise encouraging

widespread use of shadow libraries. As for incentivizing other LLM developers to use shadow

libraries, the plaintiffs again beg the question—whether LLM developers should have to pay for

the books they use as training data is the issue addressed in this opinion (and, obviously, a fact-

specific one that can’t be answered uniformly across the board). Meta, for its part, mostly

discusses the various ways that LLMs can be useful. But the public benefits most relevant to the

fourth factor are those “related to copyright’s concern for the creative production of new

expression.” Oracle, 593 U.S. at 35. So the fact that Llama can help someone do their taxes, for

example, is not especially relevant here. Nevertheless, Meta’s use of copyrighted works as

training data will likely help Llama create new expression, whether by making it better at helping

users generate creative text or by improving its “memory” and thereby making it more useful to
the researchers who use it to develop software. Public benefit considerations thus slightly favor

15
  One of Meta’s expert witnesses did testify at her deposition that, depending on how it
configured its torrenting software, it was more likely than not that Meta contributed to the
BitTorrent network’s “bandwidth, content, storage, and processing power.” Pls. MSJ Ex. 67 at
103:3–104:5. But there is no evidence of whether Meta actually had the right settings to do so or
of how much it might have contributed to this network. More importantly, there is no indication
that any computing power Meta contributed to the BitTorrent network would have assisted the
shadow libraries from which Meta torrented (or otherwise contributed to infringement of the
plaintiffs’ copyrights). To the contrary, the plaintiffs cite a source indicating that the vast
majority of torrented files are movies, TV shows, video games, and music—which are generally
copyrighted but are not at issue in this case—and that books comprise less than one percent of
torrented material. Jacqui Cheng, BitTorrent Census: About 99% of Files Copyright Infringing,
Ars Technica (Jan. 29, 2010), https://arstechnica.com/information-
technology/2010/01/bittorrent-census-about-99-of-files-copyright-infringing
[https://perma.cc/KZ7N-R9BN].


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Meta, confirming that it wins on factor four.

                                                  E
        Relatedly, Meta argues that the “public interest” would be “badly disserved” by

preventing Meta (and other AI developers) from using copyrighted text as training data without

paying to do so. Meta seems to imply that such a ruling would stop the development of LLMs

and other generative AI technologies in its tracks. This is nonsense.

        As mentioned earlier, a ruling that certain copying isn’t fair use doesn’t necessarily mean

the copier has to stop their copying—it means that they have to get permission for it. So where

copying for LLM training isn’t fair use, LLM developers (including Meta) won’t need to stop

using copyrighted works to train their models. They will need only to pay rightsholders for

licenses for that training.

        Presumably, where copying for AI training isn’t fair use, AI developers will simply

figure out a way to license the works they wish to use as training data. Meta’s contention that

markets for this licensing can’t or won’t develop is hard to believe. If books are as good for LLM

training as Meta says they are, then it seems nearly certain that LLM developers would be

willing to pay for licenses. (Indeed, Meta itself was willing to pay to license books—it just found

licensing too logistically difficult.) Even if the value of any particular book as training data is too

low to justify negotiating licensing deals book by book, LLM developers would still presumably
be interested in licensing large numbers of books at once. Publishers may not currently hold the

subsidiary rights necessary to make group licensing possible. But it’s hard to believe that they

won’t soon start negotiating those rights with their authors so that they can engage in large-scale

negotiation and licensing with LLM developers—assuming they haven’t already started to do so.

It seems especially likely that these licensing markets will arise if LLM developers’ only choices

are to get licenses or forgo the use of copyrighted books as training data. If they instead choose

to use only public domain works as training data (instead of licensing copyrighted works), that

would indicate that they don’t actually need the copyrighted works as badly as they say they do.
        So if it isn’t fair use for Meta and other LLM developers to use copyrighted books as


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training data without permission, they won’t have to stop working on their LLMs altogether.

They’ll just have to pay for licenses or use books that aren’t copyrighted. Either way, it may be

that LLM companies move somewhat more slowly or make somewhat less money. But the

suggestion that the growth of LLM technology would come to a halt (or anything close) doesn’t

pass the straight face test.

VII.    CONCLUSION
        Fair use is a fact-specific doctrine that requires case-by-case analysis that is sensitive to

new technologies and their potential consequences. No previous case has involved a use that is

both as transformative and as capable of diluting the market for the original works as LLM

training is. So no previous case answers the question whether Meta’s copying was fair use. That

question must be answered by flexibly applying the fair use factors and considering Meta’s

copying in light of the purpose of copyright and fair use: protecting the incentive to create by

preventing copiers from creating works that substitute for the originals in the marketplace.

        In cases involving uses like Meta’s, it seems like the plaintiffs will often win, at least

where those cases have better-developed records on the market effects of the defendant’s use. No

matter how transformative LLM training may be, it’s hard to imagine that it can be fair use to

use copyrighted books to develop a tool to make billions or trillions of dollars while enabling the

creation of a potentially endless stream of competing works that could significantly harm the
market for those books. And some cases might present even stronger arguments against fair use.

For instance, as discussed above, it seems that markets for certain types of works (like news

articles) might be even more vulnerable to indirect competition from AI outputs. On the other

hand, though, tweak some facts and defendants might win. For example, using copyrighted

books to train an LLM for nonprofit purposes, like national security or medical research, might

be fair use even in the face of some amount of market dilution. See Oracle, 593 U.S. at 32 (“[A]

finding that copying was not commercial in nature tips the scales in favor of fair use.”). Or

plaintiffs whose works are unlikely to face meaningful competition from AI-generated ones may
be unable to defeat a fair use defense.


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       In this case, because Meta’s use of the works of these thirteen authors is highly

transformative, the plaintiffs needed to win decisively on the fourth factor to win on fair use. See,

e.g., Perfect 10, 508 F.3d at 1168 (fair use where secondary use was “significant[ly]

transformative” and fourth factor “favor[ed] neither party”). And to stave off summary judgment,

they needed to create a genuine issue of material fact as to that factor. Because the issue of

market dilution is so important in this context, had the plaintiffs presented any evidence that a

jury could use to find in their favor on the issue, factor four would have needed to go to a jury.

Or perhaps the plaintiffs could even have made a strong enough showing to win on the fair use

issue at summary judgment. But the plaintiffs presented no meaningful evidence on market

dilution at all. Absent such evidence and in light of Meta’s evidence, the fourth factor can only

favor Meta. Therefore, on this record, Meta is entitled to summary judgment on its fair use

defense to the claim that copying these plaintiffs’ books for use as LLM training data was

infringement.

       As previously noted, summary judgment will be granted for Meta in a separate ruling on

the plaintiffs’ DMCA claim. A Zoom case management conference is scheduled for July 11,

2025, at 10:00 a.m. to discuss how to proceed on the plaintiffs’ separate claim that Meta

unlawfully distributed their protected works during the torrenting process.

       IT IS SO ORDERED.
Dated: June 25, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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